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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                      4:09CR3117
                                                )
               v.                               )
                                                )
TRAVES RUSH and MARCUS SHORT,                   )       MEMORANDUM AND ORDER ON THE
                                                )        DEFENDANT’S OBJECTIONS TO THE
                       Defendants.              )       MAGISTRATE JUDGE’S FINDINGS AND
                                                )              RECOMMENDATION


       Defendants Traves Rush and Marcus Short moved to suppress evidence that was seized
from a vehicle on October 6, 2008. (See filings 37, 43.) United States Magistrate Judge Cheryl
R. Zwart presided over a hearing of these motions on February 16, 2010, (see filings 52-56), and
in accordance with 28 U.S.C. § 636(b)(1)(B)-(C) and Federal Rule of Criminal Procedure
59(b)(1), the magistrate judge has recommended that I deny the defendants’ motions. (See filing
58.) Now before me is Mr. Rush’s objection to the magistrate judge’s Findings and
Recommendation. (See filing 62.) In the course of my de novo review of those portions of the
magistrate judge’s Findings and Recommendation that Mr. Rush challenges, see United States v.
Lothridge, 324 F.3d 599, 600 (8th Cir. 2003); 28 U.S.C. 636(b)(1); Fed. R. Crim. P. 59(b)(3), I
have studied the magistrate judge’s Findings and Recommendation, (filing 58), the motions and
briefs submitted by the parties, (filings 37-38, 43-45, 62-64), the transcript of the hearing before
the magistrate judge, (filing 61), and the exhibits received during the hearing, (see filing 56).
After carefully reviewing these materials, I find that the magistrate judge’s recommendation
should be adopted. Mr. Rush’s objections will be overruled, and his motion to suppress will be
denied.1




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        Mr. Short did not object to the magistrate judge’s Findings and Recommendation, and
his motion to suppress will be denied in accordance with the magistrate judge’s recommendation.

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                                      I.   BACKGROUND
        The magistrate judge’s Findings and Recommendation sets forth the relevant facts
clearly and accurately. (See filing 58 at 1-4.) The facts will be summarized again here in the
interest of convenience.
       On October 6, 2008, at approximately 12:15 p.m., Lancaster County Sheriff’s Deputy
Kirk Price heard a radio report concerning a robbery of the TierOne Bank near the corner of 56th
Street and Highway 2 in Lincoln, Nebraska. Deputy Price recalls the report stating that three
black males were involved in the robbery and were seen leaving the bank in a blue Chrysler
LeBaron. (Tr., filing 61, at 4-5.) He also recalls the report stating that one of the men was
wearing a black hooded sweatshirt and that the other men were wearing red sweatshirts. (Id. at
81.) A later report stated that the blue LeBaron had been found abandoned, and there was a
possibility that the men were now using a red vehicle. (Id. at 5-6.) Deputy Price drove to a gas
station at the southeast corner of 84th Street and Highway 6, hoping to spot the robbery suspects
traveling out of Lincoln toward Interstate 80. (Id. at 6-7, 37.)
       Lincoln Police Officer Mark Johnson also heard radio reports about the TierOne Bank
robbery. He recalled a report stating that the suspects were three black males, but he also
recalled another report indicating that “there was a white male in the mix.” (Tr., filing 61, at
121.) Like Deputy Price, Officer Johnson traveled to the area of the 84th Street and Highway 6
intersection to watch for the robbery suspects. He stopped his police cruiser on Highway 6 three
or four blocks east of the 84th Street intersection, and he was able to see Deputy Price’s cruiser at
the gas station from his location.
       Soon after he arrived at the gas station, Deputy Price observed a dark gray vehicle
containing three black males turn east on Highway 6 toward the interstate. The deputy pulled
onto Highway 6 to follow the vehicle “to try to make some further observations.” (Tr., filing 61,
at 8.) As he followed the vehicle, Deputy Price observed damage to the left rear of the vehicle
and numbers written on the upper left corner of the rear window. He testified that “[i]t went
through [his] mind that this could have been a salvage vehicle, that if somebody needed a get-
away vehicle or whatever, they could have found it on the lot and it would be so easily
disposable.” (Id. at 9.) The deputy did not activate his emergency lights or siren or otherwise


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direct the vehicle to stop.
        Officer Johnson observed the same gray vehicle–and its occupants–from his vantage
point on Highway 6. He testified that he decided to stop the car, but Deputy Price was ahead of
him. (Tr., filing 61, at 102.) “As soon as [he] could get out of the traffic, [he] tried to catch up to
both the deputy and the car.” (Id.) He did not activate the lights or sirens on his police cruiser.
        Meanwhile, Deputy Price followed the gray vehicle for less than two miles before it
turned off of Highway 6 and into the main entrance to the Novartis complex. The deputy
continued to follow the vehicle as it looped through the Novartis parking lot. The gray vehicle
stopped by the main entrance to the Novartis building, and an individual later identified as Curtis
Cotton exited the vehicle and entered the building. The gray vehicle then turned down a parking
row and pulled into a parking stall.
        Deputy Price followed the gray vehicle into the same parking row and stopped his cruiser
in the row. His vehicle was positioned such in a way that it did not prevent the gray vehicle from
backing out of is parking stall and driving away. After he observed a second man, later identified
as Traves Rush, exit the gray vehicle, Deputy Price exited his cruiser and approached Mr. Rush
on foot. Mr. Rush was dressed in a white tee shirt and dark pants or jeans. (Tr., filing 61, at 19.)
Deputy Price asked Mr. Rush “where they were going, where they were coming from, [and] what
they were doing there.” (Id. at 18.) He used a tone of voice that he described as “normal
conversation.” (Id. at 50.) Mr. Rush replied that “they were from Omaha, going to Omaha,” and
that they stopped at Novartis so that Mr. Cotton could see his mother, who worked there. (Id. at
20.) At about this time, Officer Johnson arrived at the scene, parked his police cruiser several car
lengths behind Deputy Price’s cruiser, and exited his cruiser. (Id. at 105-06.)
        Deputy Price then observed that Mr. Cotton had exited the Novartis building and was
walking toward the gray vehicle. Mr. Cotton was dressed in a gold hoody sweatshirt, long,
baggy, dark jeans, and high-top athletic shoes that were untied or loosely tied. Deputy Price
approached Mr. Cotton and noticed a thick roll of currency stuck in the top of one of Mr.
Cotton’s shoes. He could see “zeros” on the bill that formed the outside of the roll. (Tr., filing
61, at 22, 58.) Deputy Price then grabbed the roll of currency and handcuffed Mr. Cotton. Upon
observing Deputy Price’s actions, Officer Johnson “took hold” of Mr. Rush and placed him in the


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back seat of his police cruiser. (Id. at 107.)
       The third man, who was later identified as Marcus Short, remained in the gray vehicle.
While Deputy Price and Officer Johnson took Mr. Cotton and Mr. Rush into custody, Mr. Short
quickly backed the gray vehicle out of its parking stall and began to drive away rapidly. Officer
Johnson then entered his police cruiser and pursued the gray vehicle. The gray vehicle circled
through the parking lot and ultimately turned back down the parking row where Deputy Price’s
cruiser remained parked. The gray vehicle veered to the right of Deputy Price’s cruiser and came
to a stop against a parked car. Mr. Short exited the gray vehicle without turning off the engine
and ran through the parking lot toward Highway 6. He was wearing red shorts and a black
pullover tee shirt. (Tr., filing 61, at 30.) Officer Johnson pursued Mr. Short on foot and yelled,
“Stop, you’re under arrest.” (Id. at 114.) After a chase, Mr. Short was apprehended in a farm
field north of Highway 6.
       While Officer Johnson pursued Mr. Short on foot, Deputy Price entered the gray vehicle
and backed it up a short distance to allow a woman who came out of the Novartis building to
leave in her car–which happened to be the same car that the gray vehicle came to rest against
before Mr. Short began running. (Tr., filing 61, at 31-32.) Deputy Price did not search the
vehicle for evidence related to the TierOne Bank robbery.
       After hearing a radio report that Officer Johnson was involved in a foot pursuit, Lincoln
Police Officer Larry Bratt drove to the Novartis parking lot. Upon his arrival, he was assigned to
“process” the gray vehicle. (Tr., filing 61, at 140.) While standing outside of the vehicle, he
observed a “wad of cash folded up” and a small part of a blue bank bag on the front passenger
side floorboard, a plastic bank bag on the front passenger seat, and a “colorless opaque plastic
bag that appeared to have large amounts of U.S. currency in it” on the rear passenger side
floorboard. (Id. at 141.) He took photographs from his vantage point outside the car, (see Gov’ts
Exs. 4-7), though one of the photos was taken with the rear passenger side door open, (see Tr.,
filing 61, at 149-50 (explaining that Exhibit 7 is a photograph that was taken with the door open
because the camera could not focus through the window’s glare)). He also took photographs
after moving some of the items in the vehicle. (Compare Defs.’ Ex. 108 with Defs.’ Ex. 109;
compare Defs.’ Ex. 105 with Defs.’ Exs. 106 & 107; compare Defs.’ Ex. 106 with Defs.’ Ex.


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104; see also Tr., filing 61, at 151-53, 153-156, 156-57, 159, 162-63.)
       As noted above, Mr. Rush and Mr. Short moved to suppress all evidence seized from the
gray vehicle on October 6, 2008. (See filings 37, 43.) In support of their motions, the defendants
argued that Mr. Rush’s initial encounter with Deputy Price was not consensual, but rather an
unreasonable, unconstitutional seizure; that Mr. Short was subjected to a baseless investigatory
stop in the Novartis parking lot; that the Deputy unlawfully blocked Mr. Short’s car in the
parking stall; that the stopping of the gray car was unlawful; that Mr. Short’s arrest was unlawful;
and that the warrantless search of the gray vehicle violated the Fourth Amendment. (See, e.g.,
filing 38 at 7-8; filing 43 at 4-5; filing 44 at 3-4.) The magistrate judge considered the
defendants’ arguments and concluded that 1) the initial contact between Deputy Price and the
defendants was consensual, 2) the seizure of the evidence from the gray vehicle was proper under
the plain view exception to the warrant requirement, and 3) alternately, the search of the gray
vehicle was supported by probable cause. (See filing 58 at 4-11.) On March 19, 2010, Mr. Rush
filed an objection to the magistrate judge’s findings and conclusions. (See filing 62.) My
analysis of his objections follows.


                                          II.   ANALYSIS
       Mr Rush raises three specific objections to the magistrate judge’s findings and
recommendation. (See generally filing 62.) First, he submits that Deputy Price lacked a
reasonable suspicion to justify the detention of Mr. Rush during their initial encounter. (See id.
at 1; see also filing 63 at 2.) He also argues that the officers’ detention of Mr. Rush after the roll
of cash was discovered in Mr. Cotton’s shoe was not supported by a reasonable suspicion of
criminal activity. (See filing 63 at 2.) Second, he submits that law enforcement lacked a
reasonable, articulable suspicion to make an investigatory stop of the gray vehicle. (See filing 62
at 1; see also filing 63 at 2.) Third, he submits that the plain view exception does not justify the
warrantless search of the vehicle and that the officers lacked probable cause to search the vehicle.
(See filing 62 at 1; see also filing 63 at 2-3.) I shall consider each of these objections in turn.




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   A.    The Initial Encounter Between Mr. Rush and Deputy Price and the Subsequent
                                   Seizure of Mr. Rush

        The magistrate judge found that the initial encounter between Mr. Rush and Deputy Price
did not amount to a seizure within the meaning of the Fourth Amendment. (See filing 58 at 5-6.)
Mr. Rush objects to this finding and argues that he was seized without reasonable suspicion or
probable cause. (See filing 63 at 2.) I find that the magistrate judge correctly concluded that this
encounter was consensual and not a seizure.
        “Law enforcement officers do not violate the Fourth Amendment’s prohibition of
unreasonable searches merely by approaching individuals on the street or in other public places
and putting questions to them if they are willing to listen.” United States v. Drayton, 536 U.S.
194, 200 (2002) (citations omitted). “Even when law enforcement officers have no basis for
suspecting a particular individual, they may pose questions, ask for identification, and request
consent to search luggage–provided they do not induce cooperation by coercive means.” Id. at
201 (citing Florida v. Bostick, 501 U.S. 429, 434-35 (1991)). “If a reasonable person would feel
free to terminate the encounter, then he or she has not been seized.” Id. See also Bostick, 501
U.S. at 437 (“[T]he crucial test is whether, taking into account all of the circumstances
surrounding the encounter, the police conduct would ‘have communicated to a reasonable person
that he was not at liberty to ignore the police presence and go about his business.’”). “When
conducting this analysis, ‘[e]xamples of circumstances that might indicate a seizure, even where
the person did not attempt to leave, would be the threatening presence of several officers, the
display of a weapon by an officer, some physical touching of the person of the citizen, or the use
of language or tone of voice indicating that compliance with the officer’s request might be
compelled.’” United States v. Barry, 394 F.3d 1070, 1075 (8th Cir. 2005) (quoting United States
v. Mendenhall, 446 U.S. 544, 554 (1980)). “In the absence of some such evidence, otherwise
inoffensive contact between a member of the public and the police cannot, as a matter of law,
amount to a seizure of that person.” Id. (quoting Mendenhall, 446 U.S. at 555).
        Mr. Rush argues that when he “exited the car and was immediately approached by Deputy
Price demanding to know where he was going, what he was doing and where he had come from,”
he “certainly was not free to continue walking into Novartis nor was he free to ignore Deputy

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Price’s questioning.” (Filing 63 at 2.) I disagree. Deputy Price did not signal the gray vehicle in
which Mr. Rush was riding to stop; the driver of that vehicle drove into the Novartis complex,
and eventually parked there, without any order or direction from a law enforcement officer. Nor
did Deputy Price order Mr. Rush, or any other occupant of the gray vehicle, to exit the vehicle
and speak with him. When Mr. Rush exited the gray vehicle on his own accord, Deputy Price
exited his cruiser, approached Mr. Rush, and asked him a few questions in a normal tone of voice
and without any show of force or physical touching. Mr. Rush answered the questions, and
Deputy Price turned away to approach Mr. Cotton. In short, no objective circumstances that
might indicate that a seizure occurred at this time have been shown to be present. See, e.g.,
United States v. Barry, 394 F.3d 1070, 1075 (8th Cir. 2005). I therefore find that the encounter
between Mr. Rush and Deputy Price did not amount to a seizure within the meaning of the
Fourth Amendment; rather, it was consensual.
        Mr. Rush was seized by Officer Johnson moments after the initial encounter between Mr.
Rush and Deputy Price. The seizure occurred when Officer Johnson placed Mr. Rush into the
back of his police cruiser after he observed Deputy Price take hold of Mr. Cotton. The
magistrate judge found that this seizure was supported by a reasonable suspicion that the men
were involved in criminal activity. (See filing 58 at 7-8.) Mr. Rush argues that “the money that
was seized from Curtis Cotton’s shoe does not create reasonable suspicion or probable cause to
detain Rush.” (Filing 63 at 2.) I find, however, that Officer Johnson’s placing of Mr. Rush in the
back of the police cruiser was supported by a reasonable, articulable suspicion of criminal
activity.
        “A Terry investigatory stop allows an officer briefly to detain a citizen if the officer has a
reasonable suspicion that ‘criminal activity may be afoot.’” United States v. Ortiz-Monroy, 332
F.3d 525, 528 (8th Cir. 2003) (quoting Terry v. Ohio, 392 U.S. 1, 30 (1968)). See also United
States v. Hensley, 469 U.S. 221, 229 (1985) (“[I]f police have a reasonable suspicion, grounded
in specific and articulable facts, that a person they encounter was involved in or is wanted in
connection with a completed felony, then a Terry stop may be made to investigate that
suspicion.”). This detention may last while the officer makes “‘reasonable inquiries’ aimed at
confirming or dispelling his suspicions.” Minnesota v. Dickerson, 508 U.S. 366, 373 (1993)


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(citing Terry, 392 U.S. at 30). “In making reasonable-suspicion determinations, reviewing courts
‘must look at the “totality of the circumstances” of each case to see whether the detaining officer
has a “particularized and objective basis” for suspecting legal wrongdoing.’” United States v.
Martinez-Cortes, 566 F.3d 767, 769 (8th Cir. 2009) (quoting United States v. Arvizu, 534 U.S.
266, 273 (2002)). “In forming a basis for suspicion, officers may ‘draw on their own experience
and specialized training to make inferences from and deductions about the cumulative
information available to them that might well elude an untrained person.’” Ortiz-Monroy, 335
F.3d at 529 (quoting Arvizu, 534 U.S. at 273) Furthermore, “an officer may rely on information
provided by other officers and all the information known to a team of officers involved in the
investigation to provide justification for a stop.” Id. (citing United States v. Robinson, 119 F.3d
663, 666-67 (8th Cir. 1997)).
       As the magistrate judge noted, the totality of the circumstances show that the officers
were justified in detaining Rush in the back of Officer Johnson’s police cruiser: Deputy Price and
Officer Johnson were investigating a bank robbery, and “Rush, Short, and Cotton met the general
description [(i.e., the race and number)] of the suspects who robbed the Bank. They were spotted
shortly after the robbery was reported at a location which was a potential escape route leading out
of the city. [And] Deputy Price spotted a roll of U.S. currency laying [sic] loosely atop Cotton’s
untied high-top shoes.” (Filing 58 at 7-8 (citation omitted).) The roll of currency was thick, and
Deputy Price could see that the outermost bill bore at least two zeros. Under these
circumstances, Deputy Price and Officer Johnson had a reasonable, particularized, and objective
basis for suspecting that the three men were involved in the bank robbery, and they were justified
in detaining the men until their suspicions could be dispelled.2
       I am mindful that Officer Johnson recalled a radio report indicating that a white male
might somehow be connected with the robbery. I am also mindful that the clothing worn by Mr.


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        As it happened, Mr. Short attempted to flee the scene while Deputy Price and Officer
Johnson detained Mr. Cotton and Mr. Rush, respectively. Though Mr. Short’s flight may well
have prolonged the detention of Mr. Rush in the back of the cruiser–indeed, he remained in the
back of Officer Johnson’s cruiser during the pursuit–Mr. Short’s flight also provided the officers
with an additional particularized and objective basis for suspecting that the men were involved in
the robbery.

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Rush, Mr. Short, and Mr. Cotton did not match the radio report’s description of the robbery
suspects’ clothing and that their vehicle did not match the report that the suspected robbers might
be traveling in a red vehicle. These circumstances do not weigh in favor of a finding that the
officers had a sufficient basis for detaining the men.3 The totality of the circumstances show,
however, that the placing of Mr. Rush in the back of the police cruiser was justified until a
reasonable investigation of his involvement in the robbery could be completed. In short, it was
reasonable for the officers to seize all of the men to investigate their possible involvement in the
bank robbery because the group of men fit the basic description of the group of suspects who
robbed the bank, the men were traveling along a route that led from the bank to the interstate
shortly after the robbery, and, most importantly, one of the men was spotted with a thick roll of
cash lying in the top of his shoe. No seizure occurred before Deputy Price observed the roll of
currency, and after the currency was spotted it was reasonable for the officers to detain the men
to investigate their involvement in the robbery.


                              B.    The Stopping of the Gray Vehicle
        Mr. Rush argues that the magistrate judge erred by finding “[t]hat law enforcement had a
reasonable, articulable suspicion to conduct an investigatory stop of the vehicle.” (Filing 62 at
1.) After studying Mr. Rush’s brief, I take it that he is referring here to the initial stopping of the
vehicle in the Novartis parking lot by Deputy Price–not the subsequent stopping of the vehicle by
Officer Johnson after Mr. Short attempted to flee in it. (See filing 63 at 2.) As I read the
Findings and Recommendation, however, the magistrate judge did not reach a conclusion that
Deputy Price had a reasonable suspicion that justified an investigatory stop of the gray vehicle. It
seems to me, rather, that the magistrate judge found that the stopping of the vehicle did not
implicate the Fourth Amendment. (See filing 58 at 4-6.) I agree with this conclusion. As I noted
in Part II.A. above, the driver of the gray vehicle drove from Highway 6 into the Novartis



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         I agree with the magistrate judge, however, that the discrepancy between the radio
report’s description of the vehicle that the suspects might be using and the characteristics of the
vehicle being used by Mr. Short, Mr. Rush, and Mr. Cotton is not very significant in light of the
report that the suspects had abandoned their original getaway vehicle.

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complex, dropped off Mr. Cotton by the main entrance, and parked the car in a parking row all
on his own volition. Deputy Price followed the gray vehicle at this time, and although he admits
that he was suspicious of the men’s involvement in the robbery, he did not activate his cruiser’s
lights or siren or otherwise direct the vehicle to stop. No traffic stop, investigatory stop, or any
other sort of seizure within the meaning of the Fourth Amendment occurred before Mr. Cotton
was observed with a thick roll of currency resting in the top of his untied shoe. Because the
Fourth Amendment is not implicated, I must reject Mr. Rush’s argument that the vehicle was
stopped unlawfully by Deputy Price.


                                  C.   The Search of the Vehicle
       Finally, Mr. Rush argues that “[t]he conclusion by Judge Zwart that the warrantless
search of the automobile was supported by probable cause and/or fell under the plain view
exception was . . . erroneous.” (Filing 63 at 2.) More specifically, he claims that “[i]n order for
the plain view exception to apply, the initial stop of the vehicle must be legal,” and that the
magistrate judge “erred when so finding.” (Id. at 2-3.) As I have explained above, however, the
initial stop of the gray vehicle did not violate the Fourth Amendment. I adopt in full the
magistrate judge’s analysis of the applicability of the plain view exception to the Fourth
Amendment’s warrant requirement. (See filing 58 at 6-10.)
       In summary, I find that the parking of the gray vehicle at the Novartis complex did not
implicate the Fourth Amendment; Mr. Rush’s initial contact with Deputy Price was consensual,
and therefore it too did not implicate the Fourth Amendment; the seizure of Mr. Rush by Officer
Johnson was supported by a reasonable, particularized suspicion that Mr. Rush was involved in a
bank robbery; and the search of the gray vehicle did not violate the Fourth Amendment. The
evidence obtained from the gray vehicle will not be suppressed in this case.


       IT IS ORDERED that:

       1.      Mr. Rush’s objections to the magistrate judge’s report and recommendation, filing
               62, are overruled;

       2.      the magistrate judge’s recommendation, filing 58, is adopted; and

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      3.     Mr. Rush’s and Mr. Short’s motions to suppress, filings 37 and 43, are denied.

      Dated April 9, 2010.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge




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